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                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF IDAHO

 In re:                                                No.: 20-20470-NGH

 AH TWO, LLC,                                          Chapter 11

                Debtor.


                 ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

          Upon consideration of the record before this Court and the Motion Requesting

 Relief from Automatic Stay Pursuant to 11 U.S.C. § 362(d) and Notice of LBR 4001.2

 Requirements filed on May 16, 2022 [ECF No. 165] (the “Motion”), with notice of the

 Motion having been given in accordance with the applicable Federal Rules of Bankruptcy

 Procedure and Local Bankruptcy Rules, and no objections having been raised other than

 the untimely filed Objection to the Beneficiaries’ Motion Requesting Relief from Automatic

 Stay filed on June 7, 2022 [ECF No. 169] (the “Objection”), the Court finds that cause

 exists, pursuant to 11 U.S.C. §362(c), for the granting of the Motion, including, lack of

 adequate protection of an interest in the properties of Movants, the Debtor does not have

 any equity in such properties, such properties are not necessary to an effective

 reorganization, no timely objection to the Motion was filed, the Debtor has failed to

 establish standing to file the Objection, and good cause existing:

          Now, therefore, IT IS HEREBY ORDERED that the Objection is OVERRULED.

          IT IS FURTHER HEREBY ORDERED that the Motion is APPROVED.

          The Automatic Stay imposed by 11 U.S.C. § 362(a) is hereby terminated as to

 Movants and to the real properties commonly described as:

          1808 Northwest Blvd. (Lot B), Coeur d’ Alene, ID 83814
          1808 Northwest Blvd. (Lot C), Coeur d’ Alene, ID 83814
          1820 Northwest Blvd., Coeur d’ Alene, ID 83814
          1750 Pinewood Ct., Coeur d’ Alene, ID 83814

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        IT IS FURTHER ORDERED that the provisions of LBR 4001.2 (b)(5), (6), and

 Federal Rules of Bankruptcy Procedure 4001(a)(3) are waived, and that the order shall be

 in full force and in effect upon signature of this Court. ///END OF TEXT///

 DATED: June 14, 2022

                                           _________________________
                                           NOAH G. HILLEN
                                           U.S. Bankruptcy Judge


 Submitted by:

 SOUTHWELL & O'ROURKE, P.S.


 BY: /s/ Kevin O’Rourke      _____
    KEVIN O’ROURKE, IDB #6130
        Attorney for Movants

 APPROVED FOR ENTRY
 NOTICE OF PRESENTMENT WAIVED
 WINSTON CASHATT


 BY: /s/ Darren M. Digiacinto for David P. Gardner, Chapter 7 Trustee
    DARREN M. DIGIACINTO, IDB #9382
        Attorney for Chapter 7 Trustee


 APPROVED FOR ENTRY
 NOTICE OF PRESENTMENT WAIVED
 HOLT LAW OFFICE, P.L.L.C.


 BY: /s/ Kevin P. Holt_______________
    KEVIN P. HOLT, IDB. 7196
        Attorney for the Debtor




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